

People v Scarver (2020 NY Slip Op 05425)





People v Scarver


2020 NY Slip Op 05425


Decided on October 2, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2020

PRESENT: CENTRA, J.P., CARNI, LINDLEY, CURRAN, AND WINSLOW, JJ. (Filed Oct. 2, 2020.) 


MOTION NO. (933/14) KA 12-01069.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCLARENCE E. SCARVER, ALSO KNOWN AS "C", DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








